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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     HUNTINGTON DIVISION


UNITED STATES OF AMERICA,

                                 Plaintiff,

v.                                                   CRIMINAL ACTION NO. 3:95-cr-147-05

MARION LATIMER, JR.,

                                 Defendant.



                  MEMORANDUM OPINION AND JUDGMENT ORDER


       On November 1, 2010, pursuant to the Fair Sentencing Act of 2010, the United States

Sentencing Guidelines were amended resulting in reductions in the guidelines in Section 2D1.1 for

cocaine base. These temporary, emergency amendments to the Guidelines took effect on November

1, 2010. Permanent amendments implementing the Act were promulgated on April 6, 2011, with

an effective date of November 1, 2011. Subsequently, the Sentencing Commission voted to give

retroactive effect to the permanent amendments. Pursuant to a Standing Order entered on October

7, 2011, this case was designated for Standard consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order, Statement of Reasons and attached exhibit, addendum

to the PSI from the Probation Office, and any materials submitted by the parties on this issue. The

Court has also considered the applicable factors under 18 U.S.C. § 3553(a), consistent with §

3582(c)(2), and public safety.
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          Defendant’s original Presentence Investigation Report attributed to him 1.50255 kilograms

of cocaine base. His original offense conduct resulted in a base offense level of 38, and a criminal

history category of I. This Defendant received a two-level increase for obstruction of justice. No

other enhancements or reductions were applied. His original guideline range was 292 to 365

months. He was sentenced to the statutory maximum sentence of two hundred forty (240) months

in prison. On March 31, 2008, as a result of the 2007 United States Sentencing Guideline

amendment, Defendant’s base offense level was reduced by two levels, resulting in a new total

offense level of 38. His corresponding guideline range became 235 to 293 months. His previous

sentence was reduced to two hundred thirty-five (235) months, with credit for time served.

          During his period of incarceration since that time, the Court observes that Defendant has only

been sanctioned once for smoking in an unauthorized area. He has completed his inmate financial

responsibility program requirements and has complied with the DNA collection program. During

the course of his imprisonment, Defendant has taken and successfully completed classes in small

engine repair and building trades, and became an assistant teacher of the classes. He has also been

responsible for small appliance repairs at various Bureau of Prison facilities.

          By its written and filed response, the United States does not object to the reduction ordered

herein.

          Based on the foregoing considerations, the Court ORDERS that Defendant’s base offense

level be reduced by two levels, resulting in a new total offense level of 36. Given this total offense

level and his criminal history category of I, Defendant’s new advisory guideline range becomes 188

to 235 months. It is further ORDERED that Defendant’s previous sentence be reduced to time

served. This Order is subject to the prohibition contained within U.S.S.G. §1B1.10(b)(2)(C).


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Lastly, the Court ORDERS that the Defendant shall reside at a Community Correctional Center, as

deemed appropriate by the United States Probation Office, for a period of ninety (90) days upon his

release from incarceration, as a modification of his conditions of supervised release.1

       The Court DIRECTS the Clerk to send a copy of this Order to Defendant and counsel, to

the United States Attorney, to the United States Probation Office and to the United States Marshals.

                                              ENTER:         December 9, 2011




       1
          Defendant agrees to this placement and has waived a hearing on the modification of
his supervised release. See Memorandum of Defendant, Exh. A (Document No. 627).

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